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    Do you have feedback about Author Central or a question not answered by our documentation?
    Contact us

    Help Topics
    Book Actions


•   Adding a Book
•   Linking Multiple Editions
•   Removing a Book

    Your Books


•   Editorial Reviews
•   Customer Reviews
•   Search Results on Amazon.com
•   Categories and Search Terms

    Author Central


•   All About Author Central
•   Setting Up Your Author Central Account

    All About Author Central


•   Your Bibliography
•   Book Cover Images
•   Sales Information
•   Amazon Author Rank
•   Reporting Copyright Infringement

    Your Author Profile


•   Managing Your Author Profile
•   Your Biography
•   Your Photos
•   Your Events
•   Your Videos
•   Your Blog Feeds
•   Your Author Page URL

    Amazon Programs


•   Publishing and Selling on Amazon
•   Search Inside the Book
•   Amazon Associates
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Updated: May 13, 2009

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(Author Central and these sites, services and applications collectively, the "Services"). You
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Do you have feedback about Author Central or a question not answered by our documentation?
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Help Topics
Book Actions
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•   Adding a Book
•   Linking Multiple Editions
•   Removing a Book

    Your Books


•   Editorial Reviews
•   Customer Reviews
•   Search Results on Amazon.com
•   Categories and Search Terms

    Author Central


•   All About Author Central
•   Setting Up Your Author Central Account

    All About Author Central


•   Your Bibliography
•   Book Cover Images
•   Sales Information
•   Amazon Author Rank
•   Reporting Copyright Infringement

    Your Author Profile


•   Managing Your Author Profile
•   Your Biography
•   Your Photos
•   Your Events
•   Your Videos
•   Your Blog Feeds
•   Your Author Page URL

    Amazon Programs


•   Publishing and Selling on Amazon
•   Search Inside the Book
•   Amazon Associates
•   Amazon Advantage
•   Amazon Author Insights
•   Amazon Detail Pages
•   Audible.com


                                             •

    Customer Reviews

    This topic contains answers to frequently asked questions about Customer Reviews.

                                             •   How are Customer Reviews different from Editorial
                                                 Reviews?
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                              •   When will I see Customer Reviews in Author
                                  Central?
                              •   How can I sort Customer Reviews?
                              •   Who can write Amazon.com Customer Reviews?
                              •   Can I write Customer Reviews for my books?
                              •   What is not allowed in a review?
                              •   Why can't my readers post reviews for my Pre-
                                  Order title?
                              •   Other questions about Customer Reviews?

Customer Reviews FAQs
                              •   How are Customer Reviews different from
                                  Editorial Reviews?

                                  Customer Reviews are a way for readers to share
                                  their opinions about books in a public forum.
                                  Reviews must meet Amazon’s Community
                                  Guidelines.
                                  NOTE: Customers also have the ability to start and
                                  participate in Discussions on the sales pages for
                                  your titles and on the Author Page. Learn more
                                  about Customer Discussions.

                                  Editorial Reviews are written either by Amazon
                                  Editors or obtained from reputable and relevant
                                  publications, including the New York Times Book
                                  Review and Publisher’s Weekly. Learn how to add
                                  Editorial Reviews of your book.

                              •   When will I see Customer Reviews in Author
                                  Central?

                                  Customer Reviews appear in Author Central 24 to
                                  48 hours after they are entered. This gives us a
                                  chance to check that the reviews meet
                                  our Communities Guidelines and contain no
                                  inappropriate content.

                              •   How can I sort Customer Reviews?

                                  We show reviews for all of your books by default.
                                  To see reviews for only one book at a time, hover
                                  your mouse over "All Books" above the first review,
                                  and select the book you want to see. You can also
                                  sort by date and rating using the drop-down menu
                                  at the top of the reviews, on the right.




Help & Customer Service
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Site Features › Your Amazon Community›

Community Guidelines
Guidelines for Amazon.com Community participation.

Amazon.com wants your voice to be heard! The Amazon Community provides various features for
engaging other users and sharing authentic feedback about products and services - positive or negative.
These Community Guidelines help you use Community features, including Customer Reviews, Customer
Questions & Answers, Amazon Follow, Profile pages, Outfit Compare, Style Check, Spark, Digital and
Device Forums, Registries and Lists.

Note: These Guidelines do not apply to content included within products or services sold on Amazon,
which are subject to separate policies.

We take the integrity of the Community seriously. Any attempt to manipulate Community content or
features, including by contributing false, misleading, or inauthentic content, is strictly prohibited. If you
violate our Guidelines, we may restrict your ability to use Community features, remove content, delist
related products, or suspend or terminate your account. If we determine that an Amazon account has
been used to engage in any form of misconduct, remittances and payments may be withheld or
permanently forfeited. Misconduct may also violate state and federal laws, including the Federal Trade
Commission Act, and can lead to legal action and civil and criminal penalties.

We encourage anyone who suspects that content manipulation is taking place or that our Guidelines are
being violated in any way to notify us. We investigate concerns thoroughly and take any appropriate
actions.

By accessing or using our Community features, you agree to our Conditions of Use and to abide by these
Guidelines as modified from time to time. These Guidelines apply to any content (including text, images,
video, and links) you submit to Amazon and actions you take (such as voting on helpfulness or smiling at
a post) when using Community features. These Guidelines also apply to your interactions with other
members of the Community.

Note: Additional guidelines apply to Customer Reviews.

Eligibility
To contribute to Customer features (for example, Customer Reviews, Customer Answers, Idea Lists) or to
follow other contributors, you must have spent at least $50 on Amazon.com using a valid credit or debit
card in the past 12 months. Promotional discounts don't qualify towards the $50 minimum. In addition, to
contribute to Spark you must also have a paid Prime subscription (free Prime trials do not qualify). You do
not need to meet this requirement to read content posted by other contributors or post Customer
Questions, or create or modify Profile pages, Shopping Lists, Wish Lists or Registries.

Be Helpful and Relevant
The Community is intended to provide helpful, relevant content to customers. Content you submit should
be relevant and based on your own honest opinions and experience.

•    For Community features focused on a specific topic, you should only submit content related to that
     topic.
•    Customer Reviews and Questions and Answers should be about the product. Feedback about the
     seller, your shipment experience, or packaging can be shared
     at www.amazon.com/feedback or www.amazon.com/packaging. Comments about pricing, product
     availability or alternate ordering options are also not about the product and should not be shared in
     Customer Reviews or Questions and Answers.
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Respect Others
Amazon values diverse opinions, so you may disagree with some content that you come across. Keep in
mind that something that may be disagreeable to you may not violate our Guidelines. In order to maintain
a welcoming environment for all users, your participation in the Community must always be respectful of
others. In particular:

•   Don't post content that is libelous, defamatory, harassing, threatening, or inflammatory. For example,
    don't use obscenities or profanity, and don't express hatred or intolerance for people on the basis of
    race, ethnicity, nationality, gender or gender identity, religion, sexual orientation, age, or disability,
    including by promoting organizations with such views.
•   Don't post content that is obscene, pornographic, or lewd, or that contains nudity or sexually explicit
    images.
•   Don't post content that invades others' privacy. For example, don't post other people's phone
    numbers, email addresses, mailing addresses, or other personal information, and don't post links to
    phishing or other malware sites.
•   Don't impersonate other people or organizations or pretend to be someone or something you're not.
•   Don't repeatedly send messages or requests to other people.
•   Don't attempt to drown out other people's opinions, including by posting from multiple accounts or
    coordinating with others.
•   Don't engage in name-calling or attack people based on whether you agree with them.
•   You may question the beliefs and expertise of others as long as it is relevant and done in a respectful
    and non-threatening manner.
Promotions and Commercial Solicitations
In order to preserve the integrity of Community content, content and activities consisting of advertising,
promotion, or solicitation (whether direct or indirect) is not allowed, including:

•   Creating, modifying, or posting content regarding your (or your relative's, close friend's, business
    associate's, or employer's) products or services.
• Creating, modifying, or posting content regarding your competitors' products or services.
• Creating, modifying, or posting content in exchange for compensation of any kind (including free or
    discounted products, refunds, or reimbursements) or on behalf of anyone else.
• Offering compensation or requesting compensation (including free or discounted products) in
    exchange for creating, modifying, or posting content.
• Posting advertisements or solicitations, including URLs with referrer tags or affiliate codes.
The only exceptions are:

•   You may post content requested by Amazon (such as Customer Reviews of products you purchased
    on Amazon or received through the Vine program, and answers requested through Questions and
    Answers). In those cases, your content must comply with any additional guidelines specified by
    Amazon.
•   You may post an answer to a question asked through the Questions and Answers feature (but not a
    question itself) regarding products or services for which you have a financial or close personal
    connection to the brand, seller, author, or artist, but only if you clearly and conspicuously disclose the
    connection (for example, "I represent the brand for this product."). We automatically label some
    answers from sellers or manufacturers, in which case additional disclosure is not necessary.
•   You may post content other than Customer Reviews and Questions and Answers regarding products
    or services for which you have a financial or close personal connection to the brand, seller, author, or
    artist, but only if you clearly and conspicuously disclose the connection (e.g., "I was paid for this
    post."). However, no brand or business may participate in the Community in a way (including by
    advertising, special offers, or any other "call to action") that diverts Amazon customers to another
    non-Amazon website, service, application, or channel for the purpose of conducting marketing or
    sales transactions. Content posted through brand, seller, author, or artist accounts regarding their
    own products or services does not require additional labeling.
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Book authors and publishers may continue to provide free or discounted copies of their books to readers,
as long as the author or publisher does not require a review in exchange or attempt to influence the
review.

For more information and examples, read About Promotional Content.

Sexual Content
Some products containing sexual content and some sex and sensuality products are permitted to be sold
on Amazon, and we encourage users to express their opinions about those products. Some sexual
content such as nudity and sexually explicit images or descriptions is restricted because audiences within
our Community may be sensitive to that content.

Infringing Content
Don't post content or interact with other members of the Community in a way that infringes the intellectual
property or other proprietary rights of others. Only post your own content or content that you have
permission to use.

Illegal Activity
Don't post content that encourages or supports behavior that is illegal, including violence, fraud, illegal
drug use, underage drinking, or child or animal abuse. Examples of prohibited content include:

•   Content advocating, threatening, or joking about physical or financial harm to yourself or others,
    including terrorism.
•   Content offering fraudulent goods, services, schemes, or promotions (e.g., make-money-fast
    schemes, pyramid schemes).
•   Content posted intentionally as sarcasm as it relates to self-harm or harm to others.
•   Content that encourages or supports the dangerous misuse of a product.
Additional Guidelines for Customer Reviews
The following guidelines apply to Customer Reviews in addition to the other guidelines given above:

•    If your review is removed or rejected because it does not comply with our guidelines concerning
     promotional content, you may not resubmit a review on the same product, even if the resubmitted
     review includes different content.
• Reviews may only include URLs or links to other products sold on Amazon.
• Customers in the same household may not post multiple reviews of the same product.
• We may restrict the ability to submit a review when we detect unusual reviewing behavior, or to
     maintain the best possible shopping experience.
• You may not manipulate the Amazon Verified Purchase badge, such as by offering special pricing to
     reviewers or reimbursing reviewers.
To learn more about Amazon Verified Purchase views refer to About Amazon Verified Purchase Reviews.

Reporting Abuse
For some types of content, including Customer Reviews and Customer Answers, you can report possible
violations of these Guidelines by clicking the "Report abuse" link near the content and entering the reason
you believe it violates these Guidelines. If no "Report abuse" link is available, you may email community-
help@amazon.com, specifying the location of the content and the reason you believe it violates these
Guidelines. If you receive an offer for compensation of any kind (including free or discounted products,
refunds, or reimbursements) in exchange for creating, modifying, or posting content in violation of these
Guidelines, forward the offer, including contact information and Amazon listing, to community-
help@amazon.com
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                       •   Who can write Amazon.com Customer
                           Reviews?

                           Anyone with an active purchasing account who is in
                           good standing with the Amazon.com Community
                           can write reviews. It doesn't matter where an item
                           was purchased, if it was a gift, or if the reviewer
                           just borrowed it for a weekend. If someone wants
                           to write a review of an item, and they are a
                           registered Amazon.com customer, they are
                           welcome to use this feature.

                       •   Can I write Customer Reviews for my books?

                           No, this is not permitted. This feature is designed
                           for customers to give their opinions and feedback.
                           On a related note, we also ask that authors do not
                           submit Customer Reviews for books that are of
                           similar content or subject.

                       •   What is not allowed in a review?

                           While we appreciate customers’ time and
                           comments, we reserve the right to remove reviews
                           at any time without notice if the content includes
                           any of the following:

                              o   Objectionable material
                                      Obscene or distasteful content
                                      Profanity or spiteful remarks
                              o   Promotional content
                                      Advertisements, promotional material
                                         or repeated posts that make the
                                         same point excessively
                                      Sentiments by or on behalf of a
                                         person or company with a financial
                                         interest in the product or a directly
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                                        competing product (including reviews
                                        by publishers, manufacturers, or
                                        third-party merchants selling the
                                        product)
                                      Reviews written for any form of
                                        compensation other than a free copy
                                        of the product
                                      Solicitations for helpful votes
                              o   Inappropriate content

                                        Other people's material
                                        Phone numbers, postal mailing
                                         addresses, or URLs external to
                                         Amazon.com
                                       Details about availability, price, or
                                         alternate ordering/shipping
                                       Videos with watermarks
                                       Comments on other reviews visible
                                         on the page (because page visibility
                                         is subject to change without notice)
                              o   Off-topic information
                                       Feedback on the seller, shipment
                                         experience, or the packaging (you
                                         can do this
                                         at www.amazon.com/feedback and w
                                         ww.amazon.com/packaging)
                                       Feedback about typos or inaccuracies
                                         in our catalog or product description
                                         (instead, use the feedback form at
                                         the bottom of the product page)

                           To report Customer Reviews that fall outside of our
                           guidelines, or for assistance with Customer Review
                           issues, contact our Customer Reviews team.

                           Back to top

                       •   Why can't my readers post reviews for my
                           Pre-Order title?

                           We want to hear what your readers have to say
                           about your book, but we don't allow reviews for
                           books that have not yet been published or released.
                           Anticipatory commentary can be fun and general
                           interest, so gather the early Editorial Reviews of
                           your book and add them to its page on Amazon
                           through the Books tab in Author Central.

                       •   Other questions about Customer Reviews?
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                          See the Amazon.com Customer Reviews help page.
                          You can also contact our Customer Reviews
                          team for assistance.
